 Case: 4:09-cr-00601-HEA          Doc. #: 222 Filed: 06/02/10          Page: 1 of 1 PageID #:
                                             552



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    No. 4:09CR601 HEA
                                                )
SHAUN GLENWOOD MACK,                            )
                                                )
       Defendant.                               )

                                            ORDER

       IT IS HEREBY ORDERED that the change of plea hearing previously set in this matter

for Thursday, June 3, 2010, at 12:30 p.m. is reset to 11:30 a.m. in the courtroom of the

undersigned.

       Dated this 2nd day of June, 2010.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
